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                                   2                                 UNITED STATES DISTRICT COURT

                                   3                                NORTHERN DISTRICT OF CALIFORNIA

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                                        MATTHEW CAMPBELL, et al.,
                                   5                                                       Case No. 13-cv-05996-PJH (MEJ)
                                                      Plaintiffs,
                                   6                                                       DISCOVERY ORDER RE:
                                                v.                                         SOURCE CODE BRIEFING
                                   7                                                       SCHEDULE
                                        FACEBOOK INC.,
                                   8
                                                      Defendant.
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                                  11          On April 13, 2015, the undersigned held a conference with the parties to discuss Plaintiffs’

                                  12   discovery requests related to Facebook’s source code. Based on discussions at the conference, the
Northern District of California
 United States District Court




                                  13   Court ORDERS the parties to comply with the following schedule:

                                  14                 By June 1, 2015, Facebook will produce technical and other relevant documents in

                                  15                  response to Plaintiffs’ source code discovery requests, which will include a

                                  16                  declaration explaining why the produced documents respond to Plaintiffs’ requests

                                  17                  without producing the source code itself.

                                  18                 The parties will meet and confer following the production, and if Plaintiffs continue

                                  19                  to believe that the actual source code should be produced, Plaintiffs may file a

                                  20                  motion to compel by July 2, 2015. Facebook will file its opposition by July 20,

                                  21                  2015, and Plaintiffs will file their reply by July 27, 2015. The Court will hold a

                                  22                  hearing on the matter on August 13, 2015 at 10:00 am.

                                  23          IT IS SO ORDERED.

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                                  25   Dated: April 13, 2015

                                  26                                                   ______________________________________
                                                                                       MARIA-ELENA JAMES
                                  27                                                   United States Magistrate Judge
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